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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR11-215-JLR

10          v.                                           DETENTION ORDER

11 MEGAN ILEEN MARIE FLEMING,

12                                Defendant.

13          Defendant is charged with conspiracy to utter counterfeit obligations or securities and

14 uttering counterfeit obligations or securities. On February 7, 2012 she appeared for a status

15 hearing and to address allegations she violated conditions of release by using drugs and not

16 participating in drug treatment.

17          Defendant admitted the violations and also tested positive for drug use today. As a result,

18 the Court revoked her order of release and ordered her detained pending disposition in this case.

19 Based on defendant’s violations of her appearance bond, the Court finds there are no condition or

20 combination of conditions which the defendant can meet will reasonably assure the appearance

21 of the defendant as required and the safety of any other person and the community.

22          It is therefore ORDERED:

23          (1)    Defendant shall be detained pending her sentencing and committed to the custody



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 1 of the Attorney General for confinement in a correctional facility separate, to the extent

 2 practicable, from persons awaiting or serving sentences, or being held in custody pending appeal;

 3          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 4 counsel;

 5          (3)    On order of a court of the United States or on request of an attorney for the

 6 Government, the person in charge of the correctional facility in which Defendant is confined

 7 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 8 connection with a court proceeding; and

 9          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

10 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

11 Officer.

12       DATED this 7th day of February, 2012.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
